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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 17-00754-RGK

13              Plaintiff,                    GOVERNMENT’S OBJECTION TO
                                              PRESENTENCE REPORT AND
14                   v.                       GOVERNMENT’S SENTENCING POSITION

15   DAVID RICHARD SCOTT,                     Hearing Date: August 20, 2018
                                              Hearing Time: 1:30 p.m.
16              Defendant.                    Location:     Courtroom of the
                                                            Hon. R. Gary
17                                                          Klausner

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Ruth C. Pinkel,
22   hereby files its objection to presentence report and sentencing
23   position for defendant David Richard Scott aka Richard Scott.
24        This objection and sentencing position is based upon the
25   attached memorandum of points and authorities, the files and records
26   //
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1    in this case, and such further evidence and argument as the Court may

2    permit.

3     Dated: July 25, 2018                Respectfully submitted,

4                                         NICOLA T. HANNA
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8                                               /s/RUTH C. PINKEL
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9                                         Assistant United States Attorney

10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         For over fourteen years, while operating parking lots at the

4    Department of Veterans’ Affairs (“VA”) West Los Angeles campus,

5    defendant Richard Scott (“defendant”) used his position to bribe a

6    public official into looking the other way while defendant defrauded

7    the VA out of over $13 million in parking revenue.

8         A lengthy criminal investigation by the VA-Office of Inspector

9    General, the Federal Bureau of Investigation, and the Internal

10   Revenue Service-Criminal Investigation resulted in defendant’s arrest

11   on November 8, 2017 on a single-count criminal complaint.           On

12   December 7, 2017, defendant was charged in a fifteen-count indictment

13   with Conspiracy to Commit Bribery and Major Fraud Against the United

14   States (18 U.S.C. § 371), Major Fraud Against the United States (18

15   U.S.C. § 1031), Wire Fraud (18 U.S.C. § 1343), Interstate

16   Transportation of Property Obtained by Fraud (18 U.S.C. § 2314) and

17   Criminal Forfeiture Allegations.

18        Defendant pled guilty on May 17, 2018, pursuant to a binding

19   plea agreement under Fed R. Crim. P. 11(c)(1)(C).          Pursuant to

20   paragraph 22 of the plea agreement, defendant and the government

21   agreed that, “taking into account the factors listed in 18 U.S.C. §

22   3553(a)(1)-(7) and the relevant sentencing guideline factors set

23   forth [in the plea agreement], an appropriate disposition of this

24   case is that the court impose a sentence of: 70 months’ imprisonment;

25   3 years’ supervised release with financial and employment conditions

26   to be fixed by the Court; $10,000 fine; $200 special assessment; and

27   $12,619,693.00 restitution.”

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1            The United States Probation Office (“USPO”) issued its

2    Presentence Report (“PSR”) for defendant on July 11, 2018.            In the

3    PSR, the Probation Officer calculated a base offense level of 12, and

4    a twenty-two-level increase for more than one bribe and the loss of

5    $13 million, for an adjusted offense level of 34, and determined that

6    defendant falls within Criminal History Category I.          Based on a total

7    offense level of 31, after acceptance of responsibility, and a

8    Criminal History category of I, the Probation Officer determined that

9    the applicable Guidelines range is 108-135 months’ incarceration.

10   The Probation Officer’s sentencing recommendation is confidential.

11           The government objects to the guidelines calculations in the

12   PSR, which are technically correct under the bribery guidelines (USSG

13   § 2C1.1), but not consistent with the fraud guidelines calculations

14   (USSG § 2B1.1) and 70-month sentence agreed upon in paragraphs 20 and

15   22 of the plea agreement. 1     The government stands by its agreement to

16   recommend a 70-month sentence in this case.         For the reasons set

17   forth below in Section III, the government further objects to PSR

18   paragraphs 15, 26, 65-67, 79 and 84, which relate to two factual

19   errors, alleged substance abuse, and the imposition of a $10,000

20   fine.

21        Given the severity of defendant’s conduct in this case, and as

22   agreed by the parties in the binding plea agreement, a sentence of 70

23   months’ imprisonment, three years’ supervised release, a $200 special

24   assessment, restitution of $12,619,693 for the remaining loss to the

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            PSR ¶ 32 discusses the difference between the two guideline
27   provisions. Plea Agreement ¶ 33 allows the parties to “submit full
     and complete factual information to [the Court], even if that factual
28   information may be viewed as inconsistent with the Factual Basis or
     Sentencing Factors agreed to in” the Plea Agreement.
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1    VA, and a fine of $10,000 is warranted in this case and should be

2    imposed in the Court’s discretion.

3    II.   STATEMENT OF FACTS
4          Defendant engaged in an extensive and lucrative $13+ million

5    conspiracy to bribe a government official and defraud the VA for

6    fourteen years.

7          In 1999, defendant obtained a contract to provide parking

8    services at the VA and in 2003, he began bribing the contracting

9    official, Ralph Tillman, and continued to bribe Tillman throughout

10   the entirety of the contract, including a bribe to extend the

11   contract from 2011 to 2022.      (PSR ¶¶ 12, 14-17.)

12         Defendant provided Tillman with cash and other items of value in

13   return for his aid in the commission, allowance, and concealment of

14   fraud upon the VA and his making of opportunity to commit a fraud

15   against the VA that benefitted defendant and his company, Westside

16   Services (“WSS”).     (PSR ¶ 14.)    Defendant underreported revenue and

17   inflated expenses.     (PSR ¶ 19.)    Defendant personally collected VA

18   cash receipts to pay bribes to Tillman and for other personal

19   expenses, and his employees were instructed to make deliveries of

20   cash receipts to defendant’s house.         Defendant kept and maintained

21   these cash receipts in his home in order to underreport WSS revenue.

22   (PSR ¶ 19.)

23          With respect to expenses, defendant often marked them up by

24   600% when reporting them to the VA.         Other times, he billed the

25   outside companies using the parking lots for the cost of parking lot

26   repair/maintenance, but still deducted the expenses from the VA’s

27   share in settlement statements.       Scott claimed to have provided a

28   total of $11.6 million of in-kind services to the VA.           According to

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1    records maintained by his bookkeeper, defendant only expended $1.4

2    million in expenses for paving companies, electrical companies,

3    construction, fencing and an architect, despite representing to the

4    VA costs of approximate $5.97 million.        (PSR ¶ 20.)

5         Not surprisingly, almost ten years passed in between defendant’s

6    payments to the VA.     (PSR ¶ 16.)

7         Defendant maintained at least two separate sets of financial

8    records to further his fraud scheme.        The first set, in the form of

9    settlement statements, was maintained by defendant and submitted to

10   the VA containing false information regarding revenue and expenses.

11   The second, prepared by his bookkeeper, based on WSS bank records,

12   contained actual expenditure, but not all VA cash receipts.

13   Defendant purposely did not use his bookkeeper to prepare the

14   settlement statements, and did not show the settlement statements to

15   the bookkeeper because defendant knew the settlement statements were

16   false and were not based upon his actual revenue and expenses.            (PSR

17   ¶ 21.)

18        Defendant used proceeds of the fraud scheme to purchase, and

19   make payments on, a house on Pacific Coast Highway in Malibu,

20   California, three luxury condominiums in Santa Monica, California, a

21   Cigarette racing boat, multiple rare luxury vehicles, including three

22   Ferraris, three Corvettes, a Ford Shelby Super Snake, Mercedes

23   Benzes, and other personal expenses.        (PSR ¶ 23.)    Defendant’s

24   personal expenses, travel, meals, entertainment and owner’s draws

25   totaled at least $13.9 million.       (PSR ¶ 22.)    When defendant’s house

26   was searched in November 2017, he possessed $155,280 in cash in his

27   bedroom; $23,950 in cash in a bag in his office (along with his

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1    passport), and an additional $34,494 in cash in another location in

2    the office.    (Id. ¶ 23.)

3         As part of his plea agreement (Plea Agreement ¶ 5b), defendant

4    agreed to forfeit the above-described assets, numerous bank accounts,

5    and three luxury condominiums in Santa Monica.

6         Co-Conspirator’s Guilty Plea and Sentencing
7         On January 12, 2018 a plea agreement and two-count Information

8    were filed for defendant’s co-conspirator, Ralph Tillman, CR 18-0012-

9    RGK, who admitted he was bribed by defendant starting in 2003 and not

10   only knew defendant was defrauding the VA out of millions of dollars,

11   but assisted defendant’s fraud in a variety of ways.           In return for

12   the cash bribe payments (totaling approximately $286,000) and other

13   things of value, Tillman would, among other things: (a) intentionally

14   fail to scrutinize the annual Settlement Statements, despite knowing

15   they contained false information; (b) fail to inform his superiors at

16   the VA that Scott was not reporting accurate and truthful revenue and

17   expenses to the VA; and (c) enter into a modification of and an

18   extension (on May 25, 2011) of the Contract with WSS, and other

19   agreements, in order to continue the fraud and bribery scheme.

20   (Tillman Plea Agreement, p.14.)       On February 26, 2018, Tillman pled

21   guilty to false statements to federal agents in violation of 18

22   U.S.C. § 1001 and subscribing to a false tax return (for his failure

23   to report bribery income) in violation of 26 U.S.C. § 7206(1).

24   Tillman’s sentencing is set for August 27, 2018.

25   III. OBJECTION TO THE PRESENTENCE REPORT
26        The government objects to the guidelines calculation in the PSR,

27   ¶¶ 29-31, the Guideline Summary, and to ¶¶ 15, 26, 65-67, 79 and 84.

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1         More particularly, the government objects to the guidelines

2    calculation in the PSR, ¶¶ 29-31, and the Guideline Summary, which

3    although technically correct, are not consistent with the USSG

4    § 2B1.1 fraud guidelines calculations and 70-month sentence agreed

5    upon in paragraph 22 of the plea agreement.         The government stands by

6    its agreement to recommend a 70-month sentence in this case, but does

7    so consistent with its ability under paragraph 33 of the plea

8    agreement to “submit full and complete factual information to the

9    United States Probation Office and the Court, even if that factual

10   information may be viewed as inconsistent with the Factual Basis or

11   Sentencing Factors agreed to in” the Plea Agreement.

12        The last sentence of paragraph 15 contains a typographical error

13   and is missing the word “and.”       The sentence should read “Scott and

14   Tillman entered into a modification of and an extension of the

15   contract.” (Emphasis added.)       The modification and the contract

16   extension were two separate events that happened several years apart,

17   thus the “and” is necessary to accurately portray the facts and

18   demonstrate different official acts Tillman provided in exchange for

19   bribes.   (See Plea Agreement ¶ 19.)

20        Paragraph 26 contains the incorrect amount for loss.           As agreed

21   to by the parties in the plea agreement, loss to the VA is over $13

22   million while restitution is $12.6 million.         (See Plea Agreement

23   Factual Basis, pg. 22.)

24        The government stands by its recommendation of 70 months’

25   imprisonment, but notes it also objects to paragraphs 65 to 67 of the

26   PSR regarding claims defendant has a substance abuse problem.            During

27   its several years’ long investigation, the government uncovered no

28   evidence that defendant had a substance abuse problem.           While the

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1    government did discover one OxyContin pill during its search of

2    defendant’s residence on November 8, 2017, it did not see other

3    quantities during the search.       Moreover, defendant’s claims of non-

4    medically supervised detoxification while at MDC appears dubiously

5    aimed to achieve reduced prison time for participation in a

6    residential drug treatment program when it may not actually be

7    warranted.    Notwithstanding the government’s concerns and objection,

8    it stands by its recommendation of 70 months’ imprisonment.

9          Finally, the government objects to paragraphs 79 and 84 of the

10   PSR in which the USPO stated defendant lacks the ability to pay the

11   $10,000 fine agreed to in paragraph 22 of the plea agreement.            The

12   government believes defendant does have the ability to pay the fine.

13   In any event, due to a title issue with the 1966 Corvette Stingray,

14   the parties may be stipulating to sell the car at an independent

15   auction house and apply the proceeds to the $10,000 fine and

16   restitution.     Any such agreement will be worked out prior to

17   sentencing.

18   IV.   ARGUMENT
19         Taking into account the factors listed in 18 U.S.C. §

20   3553(a)(1)-(7), discussed below, the relevant sentencing guideline

21   factors set forth in the binding plea agreement, and defendant’s

22   criminal history category of I, with zero criminal history, the

23   government submits that the appropriate sentence in this case is 70

24   months.

25         A.   A 70-Month Sentence is Reasonable Given The Nature and
                Circumstances of the Offense and the History and
26              Characteristics of Defendant
27         In determining a sufficient sentence, courts must consider the

28   nature and circumstances of the offense and the history and

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1    characteristics of defendant.       18 U.S.C. § 3553(a)(1).      As agreed

2    upon by the parties, an analysis of these factors warrants the

3    sentence of 70 months’ imprisonment.

4          With respect to the nature and circumstances of the offense

5    here, the facts demonstrate defendant participated in reprehensible

6    conduct warranting a lengthy custodial sentence.          For almost fourteen

7    years, defendant engaged in an elaborate scheme to defraud the VA and

8    bribed the public official charged with overseeing his contract.

9    Both aspects of defendant’s crime were disgraceful.           Defrauding a

10   government agency out of funds that should have been used to support

11   the care of our military veterans is particularly repugnant.

12   Similarly, bribing a public official epitomizes one of the worst

13   fears about our society and suggests that fortune favors the corrupt.

14         The history and characteristics of defendant show someone who

15   came from a relatively stable family environment, especially when

16   compared with many defendants in this district who are not as

17   fortunate.    Defendant is college educated and achieved a relatively

18   high-level of success by becoming an independent business owner and

19   amassed a fortune in homes, cars and bank accounts.           Unfortunately,

20   that success was largely the result of fraud.

21         In mitigation, defendant agreed to forfeit the long list of

22   assets seized by the government, which appears to be almost

23   everything he amassed in the fraud scheme, and admitted his guilt in

24   an extremely detailed factual basis.        Indeed, defendant’s detailed

25   factual basis serves as a cautionary tale and assists the government

26   in deterring other government contractors and public officials from

27   engaging in fraud and bribery schemes.         Defendant’s guilty plea and

28   forfeiture also avoids the unnecessary expenditure of government

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1    resources on lengthy criminal and forfeiture trials, thus allowing

2    precious government resources to be devoted to investigation of other

3    public corruption in the Central District of California.

4          B.    A 70-Month Sentence is Reasonable Because It Reflects the
                 Seriousness of the Offense and Satisfies the Goals of 18
5                U.S.C. S 3553(A)(2)
6          In accordance with 18 U.S.C. § 3553(a)(2), the Court is to

7    consider the need for the sentence to reflect the seriousness of the

8    offense, to promote respect for the law, to provide just punishment

9    for the offense, to afford adequate deterrence to criminal conduct,

10   to protect the public from further crimes of defendant, and to

11   provide defendant with needed educational or vocational training,

12   medical care, or other correctional treatment in the most effective

13   manner.    For the reasons previously stated, and because defendant was

14   a government contractor who sets an example for so many other

15   government contractors, the government respectfully submits that a

16   70-month sentence (1) will appropriately reflect the seriousness of

17   the offense and promote respect for the law; (2) will deter future

18   criminal conduct from both the defendant and others without being

19   greater punishment than necessary; and (3) will serve to protect the

20   community.

21         C.    The Remaining Section 3553(A) Factors Also Support The
                 Sentence Requested By The Parties
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           Section 3553(a)(3) requires the Court to consider the kinds of
23
     sentences available.      Given the nature of defendant’s offense as a
24
     government contractor who defrauded the government and paid bribes,
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     any sentence that does not involve some significant period in custody
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     would not be appropriate here.       In addition, defendant’s crimes fall
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     within Zone D of the Sentencing Table, and non-custodial sentences
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1    are discouraged for such offenses.          See U.S.S.G. § 5C1.1(f);

2    Application Note 2 to U.S.S.G. § 5B1.1; PSR ¶ 91.           Furthermore, the

3    public interest in satisfying the other Section 3553(a) factors of

4    obtaining a sentence that reflects the seriousness of the offense,

5    promotes respect for the law, provides just punishment, affords

6    adequate deterrence, protects the public from further crimes of

7    defendant, and avoids unwarranted sentencing disparities among

8    defendants with similar records who have been found guilty of similar

9    conduct outweighs any interest in having defendant avoid time in

10   custody.

11   V.    CONCLUSION
12         For the above reasons, 70 months’ imprisonment, three years’

13   supervised release, a $200 special assessment, restitution of

14   $12,619,693 for the remaining loss to the VA, and a fine of $10,000

15   is a sufficient, but not greater than necessary, sentence in this

16   case and should be imposed in the Court’s discretion.

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